
A N information was filed against the defendant in the County Court of Caroline, for retailing spiritous liquors without license, to be drunk at the place where sold. The defendant was found guilty by the jury, and he moved to arrest the judgment, on the ground that the town or county of the prosecutor or informer, with his title or profession, were not indorsed at the foot of the presentment. Judgment was, nevertheless, rendered against him for thirty dollars, the penalty inflicted by law for the offence. To that judgment the defendant obtained a supersedeas, and the district court of Frede-ricksburg adjourned to the general court, the following points: “ 1st. Whether an appeal, writ of error, or super- “ sedeas is grantable in any case, wherein the common- “ wealth is plaintiff upon a penal statute: 3d, Whether if “ an appeal, writ of error, or supersedeas be grantable “ in any such, the same is grantable where the judgment “ exclusive of costs, is for a sum under thirty-three dol- “ lars and thirty-three cents.”
November 13th, 1800. The general court decided, “that no appeal, or writ of supersedeas is grantable, in *128“ any case wherein the commonwealth is plaintiff upon “a penal statute, which is considered in the nature of a “ criminal prosecution.”
*** See the case of the commonwealth at the suit of Temple, decided June, 1810, by which it appears that the common law writ of error is allowable.
